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                     EXHIBIT D
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cbenson@paulweiss.com




                                                June 21, 2013



           By Email

           Robert A. Sacks
           Sullivan & Cromwell LLP
           1888 Century Park East, Suite 2100
           Los Angeles, California 90067

             Sharp Electronics Corporation, et al. v. Hitachi, et al., No. 13-cv-1173 (MDL Docket
                                        No. 07-cv-5944) (N.D. Cal.)

           Dear Robert:

                         We received your letter dated June 20, 2013, responding to our letters
           from June 17 and June 20.

                         We disagree that discovery is premature while Thomson Consumer’s
           motion to dismiss is pending. Such a delay would prejudice Sharp’s ability to prosecute
           its case.

                          If your position is that Thomson Consumer will not participate in
           discovery until a discovery conference occurs, please let us know when you are available
           next week to have such a conference. Should any disputes that arise from that
           conference, we propose that we present them to the Special Master as quickly as possible,
           independently of the motion to dismiss.
  Case 4:07-cv-05944-JST Document 1766-4 Filed 07/05/13 Page 3 of 3



Robert A. Sacks                                                       2


                                 Very truly yours,

                                 /s/

                                 Craig A. Benson
